
ROGERS, J.
The issue presented by this appeal is the same as in the case of the City of New Orleans v. J. Ernst (No. 26198) 99 South. 391, ante, 426, this day decided.
Defendant was found guilty of operating a dairy without a permit, in violation of Ordinance No. 16204, Council Series, as amended by Ordinance No. 5649, New Council Series, of the commission council of the city of New Orleans, and duly sentenced.
For the reasons assigned in the case of the City of New Orleans v. J. Ernst (No. 26198), it is ordered, adjudged, and decreed that the conviction and sentence of defendant be set aside, that the affidavit be quashed, and the defendant discharged without day.
Rehearing refused by Division C, composed of OVERTON, ST. PAUL, and THOMPSON, JJ.
